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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF LOUISIANA


WORLD WRESTLING
ENTERTAINMENT, INC.,                              Civil Action No.: 18-3182

             Plaintiff,
                                                  Section H
       vs.

VARIOUS JOHN AND JANE DOES,
and VARIOUS XYZ CORPORATIONS,

             Defendants.



       Based upon the Verified Complaint, the Ex Parte Motion For Temporary Restraining

Order, Order for Seizure of Counterfeit Marked Goods and Order to Show Cause Why a

Preliminary Injunction Should Not Issue (the “Motion”), the Memorandum and Declarations in

support of the Motion, and all other pleadings and proceedings presented to the Court, and good

cause having been shown;

       IT APPEARING TO THE COURT that Plaintiff World Wrestling Entertainment, Inc.

(“WWE”), exclusively owns or controls the numerous trademarks and service marks associated

with its wrestling entertainment business, including the marks set forth in Exhibits 1 and 2

hereto, (collectively, the “WWE Marks”). WWE has the exclusive right to use and license others

to use the WWE Marks on goods and to use the WWE Marks in connection with rendering

services. WWE also exclusively owns or controls all right, title and interest in the names,

likenesses and rights of publicity for its current wrestlers. The WWE Marks are distinctive and

are widely recognized by the public.     Goods that bear the WWE Marks or the names or

likenesses of any of WWE’s current wrestlers shall be known herein as the “Enjoined

Goods.”
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All of the WWE Marks listed in Exhibit 1 are either currently pending or registered with the

United States Patent and Trademark Office;

       AND IT APPEARING TO THE COURT that Defendants, who are not licensed or

authorized by WWE to use the WWE Marks, and those acting in concert or participation with

them, are or will be present on the premises or within a five-mile radius of the venues where

WWE’s Wrestlemania® 34 Weekend Events in New Orleans, Louisiana shall be occurring from

April 5, 2018 through April 10, 2018, for the purpose of manufacturing, distributing, offering for

sale, and selling Enjoined Goods. It appears to this Court that Defendants, and those acting in

concert or participation with them, will continue to infringe the WWE Marks and to commit

unfair competition against WWE by manufacturing, distributing, offering for sale and selling

Enjoined Goods at WWE’s 2018-2019 live event tour;

       AND IT APPEARING TO THE COURT that the Enjoined Goods will be located on

the premises or within a five-mile radius of the venues where WWE’s Wrestlemania® 34

Weekend Events shall be occurring in the New Orleans area from April 5, 2018 through April

10, 2018, including, the New Orleans Convention Center, Mercedes-Benz Superdome and

Smoothie King Center, as well as on the premises or within a five-mile radius of venues where

other WWE events shall be occurring during WWE’s 2018-2019 live event tour;

       AND IT APPEARING TO THE COURT that the Enjoined Goods are goods bearing

“counterfeit marks” within the meaning of 15 U.S.C. § 1116(d). The distribution, sale or

offering the sale of the Enjoined Goods would cause confusion or mistake or be likely to deceive

and would constitute trademark infringement under 15 U.S.C. § 1114 and would constitute false

designation of origin under 15 U.S.C. § 1125(a);




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       AND IT APPEARING TO THE COURT that: (a) WWE is likely to succeed in

showing that Defendants have used counterfeit or infringing marks in connection with the sale,

offering for sale or distribution of goods or services; (b) WWE will suffer immediate and

irreparable injury and will have no adequate remedy at law if this Court declines to grant an ex

parte Seizure Order; (c) the harm to WWE Plaintiff should this Court not grant the requested

Seizure Order clearly outweighs any harm which the Defendants might incur if the Seizure Order

is granted; (d) WWE has not publicized the requested seizure; (e) WWE has given reasonable

notice of this Application to the United States Attorney for this District; and (f) WWE has

otherwise complied with all statutory requirements for the issuance of an ex parte Seizure Order;

       AND IT APPEARING TO THE COURT that: (a) it has the authority under 15 U.S.C.

§ 1116(a), to enjoin trademark infringement under 15 U.S.C. §§ 1114 and 1125(a); to grant, ex

parte, a seizure order for goods that bear counterfeits of trademarks and service marks under 15

U.S.C. § 1116(d); and (b) no order other than an ex parte seizure order would adequately achieve

the objectives of the Lanham Act, 15 U.S.C. §§ 1114, 1116 and 1125(a);

       AND IT APPEARING TO THE COURT that notice of this Order need not be given to

Defendants because: (a) the identities and whereabouts of Defendants are currently unknown; (b)

Defendants have no business identity or stable place of business before or after WWE’s

wrestling events and cannot be identified; and (c) Defendants who can be located and identified

likely will cause the immediate concealment or destruction of the Enjoined Goods or removal of

the Enjoined Goods outside the access of this Court;

       IT IS HEREBY ORDERED that Defendants, various John Does, Jane Does and XYZ

Companies, their true identities being unknown, show cause before this Court, at 500 Poydras

Street, New Orleans, LA 70130 in Courtroom C224, on the 17th day of April, 2018, at 9:30 a.m.,



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or as soon thereafter as counsel can be heard, why an order should not be entered granting

Plaintiff a preliminary injunction enjoining Defendants, and all those acting in concert with

them, from manufacturing, distributing, offering for sale, or selling the Enjoined Goods and/

or raise any objection concerning any seizure effected pursuant to this Order; and

       IT IS FURTHER ORDERED that, effective at 12:01 a.m. on April 5, 2018 through

April 11, 2018:

       1.      Defendants, various John and Jane Does and various XYZ Corporations, along

with their partners, associates, agents, servants, employees, representatives, and assigns, and all

others under their control or in active concert or participation with them, and all other persons

and entities having actual knowledge hereof be, and the same hereby are, temporarily

ENJOINED and RESTRAINED from:

               (a)    selling, offering for sale, holding for sale, distributing, or offering to
                      distribute any Enjoined Goods which have not been authorized by Plaintiff
                      and which bear the WWE Marks, including, but not limited to, WORLD
                      WRESTLING ENTERTAINMENT®, WWE®, WRESTLEMANIA®, and
                      the WWE® logo.

               (b)    representing by any method whatsoever that the Enjoined Goods were
                      sponsored, manufactured, sold or licensed by WWE and otherwise taking
                      any action likely to cause confusion, mistake or deception on the part of
                      the public as to the origin of the Enjoined Goods.

       2.      Federal, state, and local law enforcement officers are hereby authorized and

directed to seize any and all Enjoined Goods and any records documenting the manufacture, sale

or receipt of the Enjoined Goods, in the possession, dominion or control of Defendants, their

agents or persons acting in concert or participation with them.        All seized items shall be

delivered up to the care and custody of Plaintiff or Plaintiff’s attorneys pending further

instructions from the Court. The seized goods shall be kept in identifiable containers.




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       3.      Federal, state, and local law enforcement officers acting hereunder are authorized

to carry out the foregoing on the premises or within a five-mile radius of the venues where

WWE’s Wrestlemania® 34 Weekend Events shall be occurring in the New Orleans, Louisiana

area from April 5, 2018 through April 10, 2018, including the New Orleans Convention Center,

Mercedes-Benz Superdome and Smoothie King Center.

       4.      Defendants shall cooperate during any such seizure hereunder, shall provide the

items sought to be seized wherever such items are maintained and shall provide their correct

names, residential and business addresses and telephone numbers.

       IT IS FURTHER ORDERED that this order is conditioned upon Plaintiff’s filing with

the Clerk of this Court an undertaking, in the form of a cash bond, corporate security bond or

other form approved by the Court, in the amount of $5,000.00 to secure the payment of such costs

and damages, not to exceed such sum, as may be incurred or suffered by any party who is found

to have been wrongfully restrained hereby; and

       IT IS FURTHER ORDERED that simultaneously with any seizure made pursuant to

this Order, or as soon thereafter as is practical under the circumstances, each Defendant shall be

served with a copy of this Order together with the Summons and the Verified Complaint in this

action and shall be offered a receipt reflecting the Enjoined Goods seized.

                                                         Signed this 3rd day of April, 2018,



                                                     _______________________________
                                                                             U.S.D.J.




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